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                                                                               Honorable Robert S. Lasnik




                                    UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON AT SEATTLE

  ME2 PRODUCTIONS, INC.,                                     Civil Action No. 17-cv-182RSL

                                          Plaintiff,         DECLARATION OF DAVID A. LOWE IN
                                                             SUPPORT OF ENTRY OF DEFAULT
               v.                                            AGAINST JOEY ORDAN (DOE 17)

  DYLAN BOGERT, an individual;
  BARBARA WHALEN, an individual;
  NIK REVENKO, an individual;
  JOSH KINNE, an individual;
  MURAD BALUCH, an individual;
  CLAUDIA FODOR, an individual;
  PENNY JOHNSON, an individual;
  PHILIP CHAPLIN; and individual; and
  JOEY ORDAN, and individual,

                                          Defendants.

            I, David A. Lowe, declare as follows:

          1.            I am counsel for Plaintiff. I make this declaration in support of Plaintiff’s motion
for entry of default.

          2.            Service of process of the summons and Amended Complaint in this action was

properly effected on May 24, 2017 and proof of service was filed with the Court. (Dkt. 33). No

response was filed by Defendant within the time allowed by law, and Defendant has failed to

answer, plead or otherwise defend.

      I declare under penalty of perjury that the foregoing is true and correct.

            EXECUTED July 1, 2017.

                                                          s/David A. Lowe, WSBA No. 24,453

DECLARATION IN SUPPORT OF ENTRY OF
DEFAULT
Civil Action No. 17-cv-182RSL
INIP-6-0074P22 DECENTRYDefault (Ordan)1
